         Case 1:18-cv-01568-TDC Document 30 Filed 11/20/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)


THE NATIONAL FEDERATION OF THE
BLIND, ET AL.,

               Plaintiffs,

        v.                                                Civil Action No. 1:18-cv-01568-TDC

U.S. DEPARTMENT OF EDUCATION,
ET AL.,

               Defendants.


                   MOTION TO FILE SUPPLEMENTAL COMPLAINT

       Plaintiffs, by their undersigned counsel, pursuant to Federal Rule of Civil Procedure

15(d), hereby file this Consent Motion to File Supplemental Complaint to add events regarding

the dismissal of complaints by the Department of Education Office for Civil Rights that

happened after the date of the Complaint. Complaint, ECF 1. After the filing of the Complaint,

Plaintiffs learned that Defendants had relied on section 108(k) of the March 2018 Case

Processing Manuel to dismiss at least one complaint filed by a parent against a public

educational institution. Section 108(k), as amended in the 2018 Case Processing Manual,

provides for dismissal of a complaint if a similar complaint by another complainant was

previously dismissed pursuant to, inter alia, section 108(t). Defendants are using section 108(k)

to dismiss complaints by victims of discrimination who have never filed a pattern of complaints

and who, therefore, are not subject to section 108(t), and, thus further extending the inappropriate

application of section 108(t). Plaintiffs, therefore, request that this Court grant their Motion to

File a Supplemental Complaint to add these allegations.
          Case 1:18-cv-01568-TDC Document 30 Filed 11/20/18 Page 2 of 3



        On November 18 and 19, 2018, Plaintiffs’ Counsel conferred with Defendants’ Counsel

via email regarding the relief requested in this motion, and Defendants’ counsel did not respond

by the time of filing.

        WHEREFORE, Plaintiffs request that their Motion be granted and that the Court order

that the Supplemental Complaint be docketed appropriately.

                                               Respectfully submitted,

Dated: November 20, 2018                                  /s/
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         Case 1:18-cv-01568-TDC Document 30 Filed 11/20/18 Page 3 of 3



                              CERTIFICATE OF SERVICE


        I hereby certify that on this 20th day of November 2018, I electronically filed the
foregoing Motion to File Supplemental Complaint using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be accomplished by
the CM/ECF system.

                                                            /s/
                                              Eve L. Hill (Fed. Bar No. 19938)
